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4

5    Attorneys for defendant
     DAVID CAMPOY
6

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8

9
                      IN THE UNITED STATES DISTRICT COURT
10
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                    SAN JOSE DIVISION
12

13                                             )   No. CR 20-0458 BLF
     UNITED STATES OF AMERICA,                 )
14                                             )   STIPULATION AND [PROPOSED]
                   Plaintiff,                  )   ORDER CONTINUING STATUS
15                                             )
            vs.                                    CONFERENCE DATE FROM MAY
                                               )
16                                                 10, 2022 TO JULY 26, 2022
                                               )
     DAVID CAMPOY, et al                       )
17                                             )
                                               )
18                                             )
                   Defendants.                 )
19                                             )
                                               )
20

21
            1.     This matter is set for a status hearing on May 10, 2022 at 9:00 AM.
22
     The 23-count Second Superseding Indictment charges fifteen defendants with a
23
     variety of drug trafficking and firearms offenses. The case involves a substantial
24

25



     Stipulation and Proposed Order 20 CR-0458- 1
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1    volume of discovery, including multiple wiretaps, and has previously been found to

2    be complex for Speedy Trial Act purposes.

3           2.      The government has been producing discovery on a rolling basis.

4    Recently, the government provided new discovery to a subset of defense counsel, and

5    anticipates producing that same material to all defense counsel in the coming weeks.

6           3.      Defense counsel anticipates additional discovery requests based on the

7    review of the materials already provided. Both sides continue to meet and confer on

8    discovery obligations.

9           4.      Finally, although not a statutory basis for exclusion of time from the

10   Speedy Trial Act, various parties are actively engaging in settlement negotiations

11   with the government, and additional resolutions are expected before the July 26, 2022

12   proposed date.

13          5.      The parties stipulate that the ends of justice served by granting the

14   requested continuance outweigh the best interest of the public and the defendants in a

15   speedy trial, given the need for effective preparation of counsel.

16          For the above reasons, the parties respectfully request that the date of May 10,

17   2022 be vacated, and that the matter be re-set for a status conference on July 26, 2022

18   at 9:00 A.M.

19
            IT IS SO STIPULATED.
20
     DATED:                                             /s/                 ___
21                                              ALEXANDRA SHEPARD
                                                Assistant United States Attorney
22

23   DATED                                      __________/s/_____________
                                                PETER LEEMING
24
                                                Attorneys for David Campoy
25



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     DATED:                                    /s/              ___
1
                                       DOUGLAS RAPPAPORT
2
                                       Counsel for Defendant David Greenman

3
     DATED:                                    /s/              ___
4                                      SEVERA KEITH
                                       Counsel for Defendant Kimberly Carrasco
5

6
     DATED:                                    /s/              ___
7                                      JACK GORDON
                                       Counsel for Defendant Miguel Carrizal
8                                      Zamora

9    DATED:                                    /s/               ___
                                       RICHARD WEESE,
10
                                       Counsel for Defendant Jose Rodriguez
11                                     Naranjo

12
     DATED:                                    /s/               ___
13                                     NAOMI CHUNG
                                       Counsel for Defendant Nicholas Ardanuy
14

15
     DATED:                                    /s/               ___
16                                     JERRY FONG
                                       Counsel for Defendant Ignacio Espinoza
17

18   DATED:                                    /s/               ___
                                       ROBERT CAREY
19
                                       Counsel for Defendant Juan Johel Padilla
20

21   DATED:                                    /s/               ___
                                       ALFREDO MORALES
22                                     Counsel for Defendant Luis Sendino
23
     DATED:                                    /s/              ___
24
                                       ROBERT LYONS
25                                     Counsel for Defendant Michael Osuna
                                       Guizar


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3
                        IN THE UNITED STATES DISTRICT COURT
4
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
5
                                     SAN JOSE DIVISION
6

7                                              )   No. 20 CR-0458 BLF
     UNITED STATES OF AMERICA,                 )
8                                              )   [PROPOSED] ORDER
                     Plaintiff,                )   CONTINUING STATUS
9                                              )   CONFERENCE DATE
               vs.                             )
10                                             )
     DAVID CAMPOY, et al,                      )
11                                             )
                                               )
12                                             )
                     Defendants.               )
13                                             )
                                               )
14

15             GOOD CAUSE APPEARING, it is hereby Ordered that the status conference

16   set for May 10, 2022 the above matter is continued to July 26, 2022 at 9:00 A. M. for

17   status.

18             The time between May 10, 2022 and July 26, 2022 is excluded from the

19   Speedy Trial Act due to the need for defense investigation and effective preparation

20   of counsel. Furthermore, the Court finds that the ends of justice served by granting

21   the requested continuance outweigh the best interest of the public and the defendant

22   in a speedy trial. The Court therefore concludes that this exclusion of time should be

23   made under 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).

24         It is so Ordered.
                    May 5, 2022
           Dated: ____________                 ________________________________
25                                             The Hon. Beth Labson Freeman United
                                               States District Court Judge

     Stipulation and Proposed Order 20 CR-0458- 4
